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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 NORTHERN CHEYENNE TRIBE, et al.,
                                                 CV 17-00119-DLC
              Plaintiffs,
       vs.
                                                 DECLARATION OF CHRIS W. COX
 RYAN ZINKE, et al.,

              Defendants,

 SAFARI CLUB INTERNATIONAL and
 NATIONAL RIFLE ASSOCIATION OF
 AMERICA,

              Defendant-Intervenor
              Applicants.



I, Chris W. Cox, being first duly sworn on oath depose and state as follows:

1.    I am the Executive Director of the National Rifle Association of America's
      Institute for Legislative Action. I have held this position since 2002.

2.    I am authorized to speak for and represent the National Rifle Association of
      America in litigation under the bylaws of the National Rifle Association of
      America.

3.    I have personal knowledge of the matters set forth herein, except those stated
      on information and belief, as to those matters, I believe them to be true.

4.    The National Rifle Association of America is an Internal Revenue Code
      Section 501 (c)( 4) nonprofit membership organization, incorporated in the
      state of New York in 1871, with its principal place of business in Fairfax
      Virginia.
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5.     The National Rifle Association of America currently has approximately
       5,000,000 individual members, many of whom reside in and around the
       Greater Yellowstone Ecosystem in Idaho, Montana, and Wyoming.

6.     Among the National Rifle Association of America's purposes and objectives
       are, "[t]o promote hunter safety, and to promote and defend hunting as a
       shooting sport and as a viable and necessary method of fostering the
       propagation, growth and conservation of our renewable wildlife resources."
       National Rifle Association of America Bylaws Article II Section 5.

7.     The National Rifle Association of America and its members support
       sustainable use conservation, and are dedicated to protecting, promoting, and
       preserving America's hunting heritage for the common good, and general
       welfare of the public.

8.     The National Rifle Association of America has: a Director of Conservation,
       Wildlife, and Natural Resources; and a Hunter Services Division working at
       its headquarters in Fairfax, Virginia. They are responsible for promoting the
       interests of the hunting community in wildlife management. In addition, they
       work to ensure that wildlife populations continue to be available to be
       enjoyed by National Rifle Association of America members, and to protect
       and sustain hunting in support of wildlife conservation.

9.     The National Rifle Association of America's Director of Conservation,
       Wildlife, and Natural Resources serves as the Chair to the Federal Lands,
       Hunting, Fishing, and Shooting Sports Roundtable ("the Roundtable"). The
       Roundtable was created by a Memorandum of Understanding signed by the
       U.S. Army Corps of Engineers, U.S. Forest Service, the U.S. Bureau of
       Land Management, the U.S. Fish and Wildlife Service, and 42 private
       hunting and conservation organizations, including the National Rifle
       Association of America. The Roundtable's primary purpose "is to develop
       and expand a framework ... for planning and implementing mutually
       beneficial projects and activities related to hunting, fishing, and shooting
       sports conducted on federal lands." See Memorandum of Understanding for
       Federal Lands Hunting, Fishing, and Shooting Sports Roundtable, at *2.

10.    The National Rifle Association of America has been instrumental in the
       passage of virtually every significant piece of hunting and wildlife-
       conservation legislation throughout the nation over the last 30 years
       including: protecting hunters from harassment in the field; protecting, and
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       expanding hunting seasons; promoting right-to-hunt amendments to many
       state constitutions; and fighting to keep areas open to hunting.

11.    The National Rifle Association of America and its members are confident
       that because of the recovered status of grizzly bears, the species no longer
       requires federal Endangered Species Act protection and that state
       management authorities, not the federal government, should now have the
       ability to manage this recovered species.

12.    On information and belief, The National Rifle Association of America has
       many members who hunt in the Greater Yellowstone Ecosystem.

13.    On information and belief, many NRA members would participate in a
       grizzly bear hunt in the Greater Yellowstone Ecosystem, if given the
       opportunity.

14.    If the plaintiffs in this litigation succeed, those NRA members who would
       hunt a grizzly bear in the Greater Yellowstone Ecosystem will be deprived
       of that opportunity.

15.    I provide this declaration in support of Safari Club International and the
       National Rifle Association of America's motion to intervene in the above
       captioned case.

   In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the
foregoing is true and correct.

Dated this 31st day of October 2017.


                                       Chris W. Cox
